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UNITED STATES BANKRUPTCY COURT
FOR THE EASTERN DISTRICT OF NEW YORK


In re:                                                    Chapter 11
ABSOLUT FACILITIES MANAGEMENT, LLC,
ET AL.,                                                   Case No. 19-76260-ast


                       Debtors.                           (Jointly Administered)


                  NOTICE OF APPEARANCE AND REQUEST FOR NOTICES

         PLEASE TAKE NOTICE that John R. Stoelker of McCarter & English, LLP, hereby

enters his appearance in the above-captioned case for Grandison Management, Inc.

(“Grandison”), and hereby requests, pursuant to Section 1109 of Title 11 of the United States

Code and Rules 2002, 3017, 9007 and 9010 of the Federal Rules of Bankruptcy Procedure, that

Grandison be placed on the mailing matrix filed by the debtor(s) and any and all other mailing

matrices or service lists that may be used for any purpose in this case and that copies of any and

all notices given or required to be given and of all pleadings and other papers served or required

to be served in this case be given and served on undersigned counsel at the following address:

                         John R. Stoelker
                         McCarter & English LLP
                         100 Mulberry Street
                         Four Gateway Center
                         Newark, New Jersey 07102
                         Tel: 973-622-4444
                         Fax: 973-206-6668
                         Email: jstoelker@mccarter.com

         PLEASE TAKE FURTHER NOTICE that the foregoing request includes not only the

notices and papers referred to in the Federal Rules of Bankruptcy Procedure specified above, but

also includes, without limitation, orders and notices of any application, motion, petition,

pleading, request, complaint or demand, whether written or oral, formal or informal, and whether


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transmitted or conveyed by mail, hand delivery, facsimile transmission, telephone, telegraph,

telex or otherwise, which affects the debtor(s) or the property of or in the possession, custody or

control of the debtor(s), or which is otherwise filed or given with regard to the above-captioned

case.

         PLEASE TAKE FURTHER NOTICE that neither this Notice of Appearance nor any

subsequent appearance, pleading, claim or suit is intended to waive Grandison’s (i) right to have

final orders in non-core matters entered only after de novo review by a United States District Court

Judge; (ii) right to a jury trial in any proceeding so triable herein, or in any case, controversy or

proceeding related hereto; (iii) right to have the reference withdrawn by a United States District

Court Judge in any matter subject to mandatory or discretionary withdrawal, including proceedings

over which the Bankruptcy Court lacks constitutional authority to enter final judgments; or (iv) other

rights, claims, defenses, setoffs or recoupments to which Grandison is or may be entitled under

agreements, in law or in equity, all of which rights, claims, actions, defenses, setoffs and

recoupments are expressly reserved.

Dated: Newark, New Jersey
       October 23, 2019


                                               McCARTER & ENGLISH LLP


                                               By: s/ John R. Stoelker
                                                   John R. Stoelker
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                                                   Four Gateway Center
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